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              UNITED STATES OF AMERICA,

                                                                         CASENO.:5:17-cr-5

                     V.



              SHAMPOIRE ORANGE,


                             Defendant.



                                                         ORDER


                     The Court has conducted an independent and de novo review

              of the entire record and concurs with the Magistrate Judge's

              Report and Recommendation,            dkt.    no.   574.    The Court has

              additionally considered Plaintiff's Objections to the Report and

              Recommendation,       dkt.   no.    590.     For the reasons set forth below,

              the Court OVERRUI^S Plaintiff's Objections and ADOPTS the

              Magistrate Judge's Report and Recommendation as the opinion of

              the   Court.


                     In his Objections,          Defendant asserts he was seized within

              the meaning of the Fourth Amendment when Ware County Sheriff s

              Department Sergeant Robert Weiss "intentionally rammed and

              knocked" Defendant's vehicle "off the road."                     Id. at p.     1.

              Defendant also asserts officers lacked articulable suspicion of



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wrongdoing on his part prior to this seizure, his abandonment of

methamphetaraine was not voluntary, and there was no probable

cause to conduct a warrantless search of his vehicle.         Id. at


p. 2.     Further, Defendant maintains that, because he did not

abandon the methamphetamine voluntarily, the Court should

suppress any evidence relating to these drugs.        Id.   In support

of his Objections, Defendant relies on his previously-asserted

arguments and legal authority.      Id. at p. 1.

        The Magistrate Judge thoroughly and accurately set forth

the facts relating to Defendant's Motion to Suppress and applied

the case law relevant to these facts.       Consequently, the Court

need not recount the same herein.      However, the Court does note

Defendant was not seized within the meaning of the Fourth

Amendment until after officers effectuated the traffic stop in

the rock yard to which Defendant led the officers.          As the

Magistrate Judge observed. Defendant was not seized at the time

Sergeant Weiss rammed the Volvo Defendant was driving because

that action was an attempted, yet unsuccessful, restraint or

termination of Defendant's movement—the very requirement for a

seizure under the Fourth Amendment.       Dkt. No. 574, pp. 5-7.       In

addition, because Defendant was not seized during the chase he

led officers on, he cannot challenge the admissibility of the

methamphetamine he abandoned during this chase.        Id. at p. 7 &

n.6.
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     As to Defendant's second Objection, Defendant conceded to

violating several traffic laws and that officers were justified

in arresting him for these violations.       Id. at p. 8 (quoting

Dkt. No. 549, p. 6).    Even if Defendant had not conceded these

points, video footage of the events in question confirms that

Defendant committed several traffic offenses in officers'


presence, rendering Defendant's arrest lawful.          The officers,

therefore, had probable cause to arrest Defendant and search

Defendant's vehicle.    Id. at p. 9.

     The Court OVERRULES Defendant's Objections and ADOPTS the

Magistrate Judge's Report and Recommendation as the opinion of

the Court.   The Court DENIES Defendant's Motion to Suppress,

dkt. no. 298.   The Government is permitted to use any evidence

obtained as a result of the May 25, 2017, traffic stop during

its prosecution of this case.

     SO ORDERED, this                  of /;               el/ , 2018.




                               J. LI^ GODBEY WOOD, JUDGE
                            UNITED /STATES   DISTRICT   COURT
                            SOUTHERN DISTRICT OF GEORGIA
